       Case 1:24-cv-02163-WMR Document 32 Filed 08/30/24 Page 1 of 4




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

Baxter Bailey & Associates, Inc.,     )
                                      )
                     Plaintiff,       )
                                      )
             vs.                      )     Case No.: 1:24-cv-02163-WMR
                                      )
Semi-Cab, Inc. et al,                 )
                                      )
                     Defendants.      )
                                      )

                              MOTION TO DISMISS
                            PLAINTIFF’S COMPLAINT

      COME NOW Defendants SemiCab, Inc., Hills Pet Nutrition, Inc., PetSmart,

LLC., Petco Animal Supplies, Inc., and Chewy, Inc. by and through counsel, and file

this Motion to Dismiss pursuant to Federal Rule of Civil Procedure 12(b)(1),

12(b)(6) and 12(b)(2). The basis for the motion is set forth in the accompanying

memorandum of law in support of the motion.

      Respectfully       submitted   this   30th    day    of    August,     2024.



                                      Respectfully submitted,

                                      s/BRIAN LEHMAN
                                      BRIAN LEHMAN
                                      Admitted Pro Hac Vice
                                      Attorney for Defendants
      Case 1:24-cv-02163-WMR Document 32 Filed 08/30/24 Page 2 of 4




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                      CERTIFICATE OF COMPLIANCE

      This is to certify that to the best of my knowledge this document has been

prepared with one of the font and point selections approved by the Court in LR 5.1B,

pursuant to LR 7. Specifically, the above-mentioned document has been prepared

using Times New Roman font, 14 point.

This, the 30th day of August, 2024.

                                Respectfully submitted,

                                s/ Brian Lehman
                                BRIAN LEHMAN
                                Admitted Pro Hac Vice
                                Attorney for Defendants


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Baxter Bailey & Associates, Inc.,       )
                                        )
                    Plaintiff,          )
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             vs.                        )     Case No.: 1:24-cv-02163-WMR
                                        )
SemiCab, Inc. et al,                    )
                                        )
                    Defendants.         )
                                        )

                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on the above date, I electronically filed this

document with the Clerk of Court using the CM/ECF system which will

automatically send email notification of such filing to all attorneys of record.

                                  Respectfully submitted,

                                  s/ Brian Lehman
                                  BRIAN LEHMAN
                                  Admitted Pro Hac Vice
                                  Attorney for Defendants


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